                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

  UNITED STATES OF AMERICA                      )
                                                )       No. 3:21-CR­ 129-TAV-HBG
          v.                                    )
                                                )       JUDGE Thomas A. Varlan
  DAVJD BRUCE COFFEY                            )

                                         PLEA AGREEMENT

          The United States of America, by the United States Attorney for the Eastern District of

  Tennessee, and the defendant, David Bruce Coffey, and the defendant's attorney, Gregory P. Isaacs,

  have agreed upon the following:

          1.     The defendant will waive indictment and arraignment and plead guilty to an

  information charging the defendant with the following offenses:

                 a)      Count 1. On or about September 14, 2016, within the Eastern District of

  Tennessee, the defendant, DAVID BRUCE COFFEY, knowingly and intentionally distributed and

  dispensed a quantity of pills containing oxycodone, a Schedule II controlled substance, outside the

  course of professional practice and not for a legitimate medical purpose, all in violation of 2L U.S.C.

  §§ 841(a)(l) and 84l(b)(l)(C).

         The punishment for this offense is as follows: a term of imprisonment of up to twenty (20)

  years, a fine of up to$1,000,000, a minimum mandatory term of supervised release of three (3)

  years up to life, and a mandatory$ I 00 special assessment.

                 b)     Count 2. On or about October 5, 2016, within the Eastern District of

  Tennessee, the defendant, DAYID BRUCE COFFEY, did knowingly engage in a monetary

  transaction affecting interstate commerce in criminally derived property of a value greater than

 $10,000, that is, the deposit of$12,371.03 via check number 15036 drawn on a Citizens First Bank




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   account held by Coffey Family Medical Clinic, and such funds having been derived from specified

   unlawfulactivity, that is, the unlawful distribution and dispensation of controlled substances in

   violation of 2l U.S.c. gg 8a I (a)(l ) and 841(b)(1XC), all in violation of I8 U.S.C. $ 1957.

              The punishment for this offense is as follows: a term of imprisonment of up to ten (10)

   years, a fine of up to the greater of $250,000 or twice the value of the criminally derived property

   involved in the transaction, a period of supervised release of up to three (3) years, and a mandatory

   $1   00 special assessment.

              2.      The United States agrees not to further prosecute the defendant in the Eastern District

  of Tennessee or the Eastern District of Kentucky for any other non-tax criminal offenses committed

  by the defendant related to the charges contained in the information.

            3.       The defendant has read the information, discussed the charges and possible defenses

  with defense counsel, and understands the crimes charged. Specifically, the elements of the

  offenses are as follows;

            ,)       As to Count 1, the elements to be proven beyond a reasonable doubt are    (l)   that the

  defendant distributed or dispensed a quantity of pills containing oxycodone, a Schedule       II controlled
  substance, (2) that the defendant acted intentionally or knowingly, and (3) that the defendant

  prescribed the drug without a legitimate medical purpose and outside the course of professional

  practice,

            b)       As to Count 2, the elements to be proven beyond a reasonable doubt are that the

  defendant      (l) knowingly engaged   in a monetary transaction, (2) the monetary transaction was in

 property derived from specified unlawful activity, (3) the property had      a value greater than $ 10,000,

 (4) the defendant knew that the transaction was in criminally derived property, and (5) the monetary

 transaction took place within the United States.




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          4.      In support ofthe defendant's guilty plea, the defendant agrees and stipulates to the

   following facts, which satisfy the offense elements. These are the facts submitted for purposes of

  the defendant's guilty plea. They do not necessarily constitute all of the facts in the case. Other

  facts may be relevant to sentencing. Both the defendant and the United States retain the right to

  present additional facts to the Court to ensure a fair and appropriate sentence in this case.

                 a)       The defendant worked with others to      illicitly distribute controlled   substances

  outside the course of professional practice and without a legitimate medical purpose. Using his

  status as a medical doctor and registrant with the Drug Enforcement Administration           ("DEA"), the

  defendant would provide pre-signed prescriptions for controlled substances, including oxycodone

  and hydrocodone, to others at Coffey Family Medical Clinic ("CFMC") in Oneida, Tennessee for

  the purpose of furnishing the prescriptions to putative patients in exchange for payments. These

  pre-signed prescriptions were issued outside the course of professional practice and not for a

  legitimate medicalpurpose. The defendant knowingly caused one of these pre-signed prescriptions

  for 60 oxycodone l5 milligram pills to be issued to a putative patient without a legitimate medical

  purpose on or about September 14,2016. The defendant knew at the time that oxycodone was a

  controlled substance.

                 b)       The defendant also   illicitly distributed controlled   substances outside the

 course of professional practice by providing prescriptions directly to putative patients at CFMC

 without establishing a legitimate medical need for the prescriptions. This included issuing

 controlled-substance prescriptions after spending less than one minute with the putative patient and

 conducting no physical exam.




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                   c)         As part of the same course of conduct as Count      l,   the defendant distributed a

   quantity of pills containing controlled substances that is the equivalent of more than 700 kilograms

   but less than 1,000 kilograms of marijuana.

                   d)     Because the defendant abused the trust the public placed in him as a medical

   doctor and holder of a DEA license allowing him to prescribe controlled substances, and the abuse

   of such trust significantly facilitated the commission of his offense, the defendant agrees that his

   offense level should be increased 2 levels under Section 381.3 of the United States Sentencing

   Guidelines.

                  e)      On or about October 5,2076, the defendant caused a check in the amount              of
   512,371.03 from a CFMC account at Citizens First Bank ending in xx449 to be deposited into a

  personal checking account he      jointly held with his wife. The money transferred by check         was

  derived from specified unlawful activity, namely, the    illicit distribution   and dispensation    of
  controlled substances at CFMC, and the defendant knew this fact. This transaction occurred in the

  United States, in the Eastem District of Tennessee.

                  f)      From 2012 to 2018, funds that the defendant received from the operation            of
  CFMC and the operation of Mark's Family Pharmacy constituted proceeds of drug trafficking and

  money laundering. The defendant was co-owner of Mark's Family Pharmacy, which was located in

  the same building as CFMC and regularly       filled prescriptions issued from CFMC outside the course

  of professional practice.

         5.      The defendant is pleading guilty because the defendant is in fact          guilty. The
  defendant understands that, by pleading guilty, the defendant is giving up several rights, including:

                 a)      the right to be indicted by a grand jury for these crimes;

                 b)      the right to plead not guilty;



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                    c)        the right to a speedy and public trial by   jury;

                    d)        the right to assistance ofcounsel at trial;

                    e)        the right to be presumed innocent and to have the burden of proof placed on

   the United States to prove the defendant guilty beyond a reasonable doubt;


                    0         the right to confront and cross-examine witnesses against the defendant;

                    g)       the right to testify on one's own behalf, to present evidence in opposition to

   the charges, and to compel the attendance of witnesses; and

                    h)        the right not to testify and to have that choice not used against the defendant.

           6.       The defendant waives any defense or argument regarding the conduct charged in

  Counts   I   andZ of the Information and admitted in Paragraph 4 herein falling outside the statute     of
  limitations. The defendant has been advised of this potential affirmative defense, which he freely

  and knowingly waives.

           7.       The parties agree that the appropriate disposition of this case would be the following

  as to each count:

                   a)        The Court may impose any lawful terms of imprisonment, any lawfulfines,

  and any lawful terms of supervised release up to the statutory maximums, and the parties agree to

  recommend that the Court impose a fine of $500,000;

                   b)        The Court   will impose special   assessment fees as required by law; and

                   c)        The Court may order forfeiture as applicable and restitution as appropriate.

  No promises have been made by any representative of the United States to the defendant as to what

  the sentence   will   be in this case. Any estimates or predictions made to the defendant by defense

  counsel or any other person regarding any potential sentence in this case are not binding on the

 Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant's



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   guilty plea. The defendant understands that the sentence in this case will be determined by the

   Court after it receives the presentence investigation report from the United States Probation Office

   and any information presented by the parties. The defendant acknowledges that the sentencing

   determination   will   be based upon the entire scope of the defendant's criminal conduct, the

  defendant's criminal history, and pursuant to other factors and guidelines as set forth in the

  Sentencing Guidelines and the factors set forth in 18 U.S.C. $ 3553.

          8.       Given the defendant's agreement to plead guilty, the United States witl not oppose               a

  two-levelreduction for acceptance of responsibility under the provisions of Section 3El.l(a) of the

  Sentencing Guidelines. Further,      ifthe defendant's offense level is l6 or greater, and the defendant

  is awarded the two-level reduction pursuant to Section 3E I . I (a), the United States agrees to move,

  at or before the time of sentencing, the Court to decrease the offense level by one additional level

  pursuant to Section 3El .l (b) of the Sentencing Guidelines. Should the defendant engage in any

  conduct or make any statements that are inconsistent with accepting responsibility for the

  defendant's offenses, including violations of conditions of release or the commission of any

  additional offenses prior to sentencing, the United States will be free to decline to make such

  motion, to withdraw that motion if alrcady made, and to recommend to the Court that the defendant

  not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

  Cuidelines.

         9.        The defendant agrees to pay the specialassessment in this case prior to sentencing.

         l0'       The defendant agrees that he   will not contest the administrative and/orjudicial

 forfeiture ofany and all assets and property, or portions thereof, subject to forfeiture as proceeds           of
 drug-trafficking and/or money-laundering offenses in violation of          t U.S.C.
                                                                        2              $ 8a l (a)( l ) and/or I g

 U.S.C. $$ 1956, 1957 which are in the possession or control of the defendant or the defendant,s



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    nominees, or were in such possession until seizure by the United States and/or any and all
                                                                                               assets and

    proPerty, or portions thereof, subject to forfeiture as property involved in a transaction
                                                                                               or attempted

    transaction in violation of     l8 U.S.C. $$ 1956 or               including but not limited to the forfeiture
                                                              1957 ,                                                  of
    the following properties currently subject to a      civiljudicial forfeiture proceeding in the Eastern

    District of Kentucky (civil action no. 6:19-cv-305):

              a)    Funds seized from Citizen First Bank account #xx449, in the amounts of                  $   168, g91.67

                    and $322,350.70;

           b)       Funds seized from Citizens First Bank account #xx8l3 in the amount of $37,00g.97;

           c)       Funds seized from Citizens First Bank accou nt #xxx679 in the amount               of
                    $   100,296.83;

          d)        Funds seized from Citizens First Bank account #xx355 in the amounts                of
                   $l   64,567 .04 and 925,960.93    ;


          e)       Funds seized from Citizens First Bank account #xxx378 in the amount of $256.20;

          0        Funds seized from Citizens First Bank account #xx8 I 3 in the amou nt             of g2,32g.37;
          g)       Funds seized from Citizens First Bank account # xxxxx463 in the amount                   of
                   $640,754.79;

          h)       Funds seized from Regions Bank account #xxxxxx840 in the amount of $26,091.33;

          i)       Funds seized from First National Bank account #xxx687 in the amounts                 of
                   $48,191.   l6   and $795.   l6;

         j)        $9,150.00 in United States currency;

         k)        $40,396.75 in United States currency;

         l)        A20t4Mercedes-BenzGL450,VIN4JGDF7cE4EA2g6609;                             and

         m)        A2014 Mercedes-Benz GL450, vIN 4JGDF7CE6EA306r50.



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    The defendant acknowledges that a nexus exists between the above-identified properties and

   criminal conduct     as the   above-identified properties constitute or are derived from proceeds traceable

   to drug-trafficking or money-laundering offenses in violation of 21 U.S.C. $ 8a1(a)(1) and/or l8

   U.S.C. $$ 1956, 1957 andlor were involved in money-laundering offenses in violation of 18 U.S.C.

   $ 1956, 1957. The defendant further agrees to assist the United States fully in the identification,

   recovery, and return to the United States of any other assets or portions thereof subject to forfeiture.

   The defendant further agrees to make a full and complete disclosure of alI assets over which the

   defendant exercises control and those which are held or controlled by a nominee. The defendant

   agrees to forfeit all interests in the properties as described above and to take whatever steps are

   necessary to pass clear title to the United States. These steps include, but are not limited to, the

   surender of title, the signing of a consent decree of forfeiture, and the signing of any other

   documents necessary to effectuate such transfers. The defendant agrees to waive all rights to

   contest, and    will not object to, or otherwise submit   a claim in, any administrative or   judicial

   forfeiture proceedings brought against these properties and to withdraw any claims he has made

   against the forfeiture of these properties in any jurisdiction. The defendant further agrees to waive

  all seizure, noticing, and timing requirements set forth in 18 U.S.C. $ 983 related to the seizure and

  forfeiture ofthese properties. The defendant agrees to take all such steps to locate such property and

  to pass title to the United States before the defendant's sentencing.

          1   l.     Financial Obligations. The defendant agrees to pay all fines and restitution imposed

  by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution

  amount(s) shall be considered due and payable immediately. tf the defendant cannot pay the full

  amount immediately and is placed in custody or under the supervision of the Probation Office at any

  time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the



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   authority to establish payment schedules to ensure payment of the fine and/or restitution. The

   defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by

   the Court by set-off of federal payments, execution on non-exempt propert!, and any other means

   the United States deems appropriate. The defendant and counsel also agree that the defendant may

   be contacted post-judgment regarding the collection of any financial obligation imposed by the


   Court without notifying the defendant's counsel and outside the presence of the defendant's counsel.

   In order to facilitate the collection of financial obligations to be imposed with this prosecution, the

   defendant agrees to disclose fully all assets in which the defendant has any interest or over which

   the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or

   other third party. In furtherance of this agreement, the defendant additionally agrees to the

   following specific terms and conditions:

                  a)      If so requested by the United   States, the defendant   will promptly submit      a

   completed financial statement to the U.S. Attorney's Office, in a form it provides and as it directs.

  The defendant promises that such financial statement and disclosures     will    be complete, accurate,

  and truthful.

                  b)      The defendant expressly authorizes the U.S. Attorney's Office to obtain a

  credit report on the defendant in order to evaluate the defendant's ability to satisfy any financial

  obligation imposed by the Court.

                  c)     If   so requested by the United States, the defendant    will promptly   execute

  authorizations on forms provided by the U.S. Attorney's Office to permit the U.S. Attorney's Office

  to obtain financial and tax records ofthe defendant.

          12.     The defendant acknowledges that the principal benefits to the United States of a plea

  agreement include the conservation of limited government resources and bringing a certain end to




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    the case. Accordingly, in consideration of the concessions made by the United States in this

    agreement and as a further demonstration of the defendant's acceptance of responsibility for the

    offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the

    following:

                     a)     The defendant    will not file a direct appeal of the defendant's conviction(s) or

    sentence with one exception: The defendant retains the right to appeal a sentence imposed above

    the sentencing guideline range determined by the Court or above any mandatory minimum sentence

    deemed applicable by the Court, whichever is greater. The defendant also waives the right to appeal

    the Court's determination as to whether the defendant's sentence         will   be consecutive or   partially

    concurrent to any other sentence.

                    b)      The defendant   will not file any motions or pleadings pursuant to 28 U.S.C.

    S 2255   or otherwise collaterally attack the defendant's convictions or sentence, with two exceptions:

   I'he defendant retains the right to file a $ 2255 motion as to (i) prosecutorial misconduct and (ii)

   ineffective assistance of counsel.

                    c)      The defendant   will not, whether directly or by a representative,     request or

   receive from any department or agency of the United States any records pertaining to the

   investigation or prosecution of this case, including, without limitation, any records that may be

   sought under the Freedom of Information Act, 5 U,S.C. Section 552, or the Privacy Act                of 1974,

   5 U.S.C. Section 552a.

             13.    This plea agreement becomes effective once it is signed by the parties and is not

   contingent on the defendant's entry of a guilty plea.     If the United   States violates the terms of this

   plea agreement, the defendant   will   have the right to withdraw from this agreement.        If the defendant
   violates the terms of this plea agreement in any way (including but not limited to failing to
                                                                                                 enter



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    guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

    court order or any local, state or federal law pending the resolution of this case), then the United

    States   will   have the right to void any or all parts of the agrcement and may also enforce whatever

   parts of the agreement it chooses. In addition, the United States may prosecute the defendant for

    any and all federal crimes that the defendant committed related to this case, including any charges

   that were dismissed and any other chargcs which the United States agreed not to pursue. The

   defendant expressly waives any statute of limitations defense and any constitutional or speedy trial

   or doublejeopardy defense to such a prosecution. The defendant also understands that a violation                of

   this plea agreement by the defendant does not entitle the defendant to withdraw the defendant's

   guilty plea in this case.

             14.       The United States   will file   a supplement in this case, as required in every case by the

   LocalRules of the United States District Court for the Eastern District of Tennessee, even though

   there may or may not be any additional terms.            If additional terms are included in the supplement,

   they are hereby      fully incorporated herein.

             15.       This plea agreement and supplement constitute the       full   and complete agreement and

   understanding between the parties concerning the defendant's guilty plea to the above-referenced

   charge(s), and there are no other agreements, promises, undeftakings, or understandings between the

   defendant and the United States. The parties understand and agree that the terms of this plea

   agreement can be modified only in writing signed by all of the parties and that any and all other

   promises, representations, and statements whether made before, contemporaneous with, or after this

  agreement, are null and void.




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                                           FRANCIS M. HAMILTON ]II
                                           ACTING TINITED STATES ATTORNEY


               tuz                  By:
   Date
                                           Special Assistant United States Attorney




                                                        Coffey



           t-il                                       Isaacs
                                           Attorney for the Defendant




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